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                                                        U.S. Bankruptcy Court
                                                     Eastern District of North Carolina
      In re:
                                                                      Bankruptcy Case No. 18−02154−5−JNC
      RANDY P. COLEY
                                                          Debtor
                                                                      Adversary Proceeding No. 18−00113−5−JNC
      RICHARD D. SPARKMAN
                                                          Plaintiff
      v.
      ITS THUNDERTIME LLC
      RANDY P. COLEY ET. AL.
                                                          Defendant



                                                  SUMMONS IN AN ADVERSARY PROCEEDING


      YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons with the clerk
      of the bankruptcy court within 30 days after the date of issuance of this summons, except that the United States and its offices and
      agencies shall file a motion or answer to the complaint within 35 days of issuance.
      Address of Clerk:
           CLERK, U.S. BANKRUPTCY COURT
           EASTERN DISTRICT OF NORTH CAROLINA
           300 FAYETTEVILLE STREET, PO BOX 791
           RALEIGH, NC 27602
      At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.


      Name and Address of Plaintiff's Attorney:
          GEORGE F. SANDERSON
           PO BOX 33550
           RALEIGH, NC 27636
      If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.

      IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY OF A
      JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
      DEMANDED IN THE COMPLAINT.




           Date Issued: October 26, 2018




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                                                                       Stephanie J. Butler, Clerk Of Court




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  continued caption:

  Listing Of Defendant Names:

  ITS THUNDERTIME LLC
  C/O KIMBERLI M. COLEY, REGISTERED AGENT
  202 BRITTANY PLACE


  CARY, NC 27511

  RANDY P. COLEY

  202 BRITTANY PLACE


  CARY, NC 27511

  KIMBERLI M. COLEY

  202 BRITTANY PLACE


  CARY, NC 27511
